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                                                                                                   2023 Oct-10 PM 05:46
                                                                                                   U.S. DISTRICT COURT
                                                                                                       N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


SONDRA RAY,                                           )
                                                      )
        Plaintiff,                                    )
                                                      )
v.                                                    )          Case No. 2:20-CV-00499-RDP
                                                      )
RODERICK GADSON, et al.,                              )
                                                      )
        Defendants.                                   )
                                                      )

                                      PROTECTIVE ORDER

        To expedite the flow of discovery material, facilitate the prompt resolution of disputes over

confidentiality, adequately protect material entitled to be kept confidential, and ensure that

protection is afforded only to material so entitled, it is, pursuant to the Court's authority under Fed.

R. Civ. P. 26(c) and with the consent of the parties, ORDERED:

        1.      Scope of Order.        This Order governs the handling of all documents and

information produced and testimony given by the parties and designated as “confidential” or

“highly confidential” under this Order.

       2.      Scope of Documents Subject to Being Designated Confidential. Any party may

designate as “confidential” or “highly confidential” any documents and information, in whatever

form, including, but not limited to, any answer to interrogatories, other discovery, or deposition

testimony (or exhibits) that a party reasonably believes (1) not to be in the public domain and (2)

contains any confidential, proprietary, personal, sensitive, or other private information. The

Alabama Department of Corrections (ADOC) may designate documents and information as

“confidential” or “highly confidential” for security purposes including but not limited to
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information: (1) likely to jeopardize the safety of prisoners in ADOC’s custody if made public; (2)

likely to result in retaliation based on a good faith belief concerning the likelihood of such

retaliation due to demonstrable circumstances; (3) concerned with or related to an ongoing

investigation of an incident; or (4) generated as part of internal or self-critical reviews and/or

quality control materials, such as mortality reviews regarding prisoner deaths. For purposes of

this Order, the term “document” and/or “documents” means all written, recorded, graphic material,

and/or any information contained therein, whether produced or created by a party or another

person, whether produced pursuant to Rule 34, subpoena, by agreement, or otherwise. However,

counsel agree that they will be both reasonable and restrictive in designating the above referenced

information and material as “confidential” or “highly confidential.” Whenever possible, to assist

in mediation, settlement, and/or trial preparation, the designating party may provide a redacted

copy of any designated document so that a party may review it.

       2(a).   Non-Disclosure of Personal Data Relating to Past or Present ADOC

Employees, Including Social Security Numbers, Date of Birth, Addresses, Phone Numbers,

and Family Members. Plaintiff’s counsel understands and agrees that the above referenced

personal data, including and relating to social security numbers, dates of birth, addresses, phone

numbers, and family members of ADOC and former ADOC employees, are at all times deemed

confidential (regardless of whether or not a document containing such information has been

marked “confidential” or “highly confidential”) and shall not under any circumstances be disclosed

in any shape, fashion or form to (1) inmates or former inmates of ADOC, their family or friends,

(2) witnesses or deponents, and (3) health care and/or mental health care providers.




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       3.      Designation of Documents as Confidential. Parties may designate information

and/or materials as “confidential” information or “highly confidential” by either of the following

methods:

               a.     By writing, typing, copying, or stamping the words “confidential”
                      or “highly confidential” on the face of any materials upon their
                      initial production to the opposing party in a way that brings it to the
                      attention of a reasonable examiner.

               b.     By statement on the record in a deposition that the material is
                      designated as “confidential” or “highly confidential” and by
                      following up with written notice specifically designating by page,
                      line, and paragraph the testimony that is contended to be
                      “confidential” or “highly confidential” and the grounds for the same.

In addition, any non-party that is producing documents, information, or other material that it

considers to be confidential may designate such documents, information, or other material as

“confidential.” Thereafter, the provisions of this Order shall apply to the confidential material

unless contested by any party.

       4.      Disposition of Documents.        Within sixty (60) calendar days after the final

disposition of the action, including any and all appeals, each party receiving “confidential” or

“highly confidential” documents and information must either return the designated documents and

information to the producing party or destroy such material, including all copies, abstracts,

compilations, summaries, and any other form in which the confidential documents and information

have been reproduced or captured. However, counsel for any party may maintain confidential

documents and information necessary to comply with its document retention requirements but after

such time, all confidential documents and information shall be destroyed.

       5.      Permissible Disclosures. Except for paragraph 2(a) above, which sets out the

disclosure restrictions related to personal information relating to ADOC and former ADOC



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employees, “confidential” or “highly confidential” documents and information may be disclosed

during the investigation and preparation of this case to the following:

       (a).     The parties’ (or bound non-parties’) counsel and their partners, associates,

       secretaries, paralegals, assistants, coworkers, and/or employees to the extent reasonably

       necessary to render professional services in this litigation;

       (b)      A party who is bound by the terms of this Order;

       (c).     An expert or consultant who is retained by a party (or bound non-party) or its

       counsel in order to assist in the conduct of this litigation;

       (d).     A witness or prospective witness in this litigation, but only to the extent reasonably

       necessary to investigate or prepare this case or to prepare the witness to testify (and with

       ADOC employees or former employees personal information redacted in accordance with

       2(a));

       (e).     Court reporters and videographers while in the performance of their official duties

       related to this litigation, including during depositions;

       (f).     The judge or any other tribunal to which any appeal of the litigation is taken,

       including the respective staff of the judge or such other tribunal;

       (g).     Copying services, translators, and litigation support firms providing consultation,

       graphics, and jury research (including focus group participants), subject to compliance with

       this Order;

       (h).     Other persons to whom the designating party chooses to disclose the confidential

       information;

       (i).     Persons with prior knowledge of the documents and/or the confidential

       information;




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       (j).    Any other person designated by the Court in the interest of justice, upon such terms

       as the Court may deem proper.

“Confidential” or “highly confidential” documents and information shall not be copied for or

provided to a non-bound person, whether a witness or deponent or other person, and shall not be

left in the possession of any inmate or former inmate of ADOC. All confidential documents and

information will only be provided to experts, consultants, or any other non-bound third party who

sign an acknowledgement of this Order and agree to be bound by it. (Counsel for the parties shall

keep a list of all persons to whom “confidential” or “highly confidential” information has been

provided who have signed and agreed to be bound by this Order).

       6.      Inadvertent Disclosure. If materials are produced containing information which,

in a party’s opinion, should have been, but were not, designated as “confidential” or “highly

confidential” information, such party may designate such materials and/or information as

“confidential” or “highly confidential” by notifying counsel for all parties of this designation in

writing and by re-submitting as soon as possible a copy of the material in question designated as

“confidential” or “highly confidential” pursuant to paragraph 4 above to counsel for all parties.

Upon receipt of such notification, the parties will hereinafter treat the materials and/or information

as “confidential” or “highly confidential” and henceforth only utilize the newly marked

documents, and/or information contained therein.

       7.      Declassification.    If a party should object to the designation of material as

“confidential” or “highly confidential” that party shall give written notice of such objection to the

other party. Counsel shall then in good faith attempt to confer to resolve such objections. If no

resolution is reached, the challenging party may file a motion asking the court to resolve the




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dispute. Pending resolution by the court, the “confidential” or “highly confidential” designation

will remain in full force and effect.

        8.      Confidential Information in Depositions.              A deponent may, during the

deposition, be shown and examined about, information and/or documents designated as

confidential so long as personal data identified in paragraph 2(a) above and including but not

limited to data such as social security numbers, dates of birth, addresses and telephone numbers

have been redacted. Deponents shall not retain and/or copy portions of the transcript of the

depositions that contain “confidential” or “highly confidential” information. Any party shall have

30 days from its receipt of the completed transcript to provide written notice to the parties of the

specific pages and lines of the transcript or exhibits which contain the confidential information.

Until expiration of the 30-day period, all parties shall treat the entire transcript, including exhibits,

as confidential information subject to the protections of this Order. If no party timely designates

the transcript or a portion of the transcript as confidential information, then the transcript will not

be treated as such.

        9.      Confidential Information at Trial. Subject to the Federal Rules of Evidence,

“confidential” or “highly confidential” information may be offered into evidence at trial or at any

hearing or during oral argument, provided that the proponent of the evidence containing

confidential information gives advance notice to the Court and counsel for the producing or

designating party. In the event that any confidential information is, consistent with the terms of

this Order, used or disclosed in any hearing or trial, such information shall not lose its confidential

status by reason of such use or disclosure. Counsel shall take all steps reasonably required to

protect the confidentiality of the information during such use or disclosure.




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       10.     Filed Under Seal. Information and/or documents designated as “confidential” or

“highly confidential” need not be filed with the Clerk except when required in connection with

motions under Fed. R. Civ. P. 56 or other matters pending before the Court. All documents, briefs,

and other papers containing, referring to or otherwise disclosing confidential information which

are filed with (or otherwise submitted to) the court shall not be disclosed by any party except as

provided in this Order. Any party seeking to seal any such materials shall request leave of the

court, in advance, to file the materials under seal.

       11.     Termination of Representation. If the attorney(s) for any party cease to represent

their client before the conclusion of this matter, the attorney will meet and confer with the

producing party on the handling of the “confidential” or “highly confidential” information. If there

is a dispute as to handling of this material, then the withdrawing party will file a motion with the

Court seeking guidance and relief from this Order

       12.     Client Consultation. Nothing in this Order shall prevent or otherwise restrict

counsel from rendering advice to their clients and, in the course thereof, relying on examination

of information and/or documents designated as “confidential” or “highly confidential”

information; provided, however, that in rendering such advice and otherwise communicating with

such client, counsel shall not under any circumstances disclose any personal information as

referenced in paragraph 2(a), nor shall counsel disclose confidential information except pursuant

to paragraph 5.

       13.     Use Restricted to This Litigation. Persons obtaining access to documents and

information designated as “confidential” or “highly confidential” shall use the information only

for this litigation and not for any other purpose, including but not limited to business,




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governmental, commercial, administrative, and/or other purposes including but not limited to

judicial proceedings.

       14.     Independent Knowledge.          Nothing in this Order limits any person’s ability to

disclose information that the person demonstrably knows independently or from public records.

       15.     Modification Permitted. Nothing in this Order shall prevent any party or other

person from seeking modification of this Order or from objecting to discovery that it believes to

be otherwise improper.

       16.     No Waiver. In accordance with Rule 502(d) of the Federal Rules of Evidence, the

inadvertent production of any document or item shall not constitute a waiver of any applicable

privilege, for purposes of this litigation or any future litigation. If a party inadvertently produces

information which it asserts is protected by the attorney-client privilege or work product doctrine,

without intending to waive a claim of privilege, it shall promptly notify the receiving party of its

claim of privilege. After being so notified, the receiving party shall promptly return or destroy the

specified information and any copies.

       17.     Responsibility of Attorneys.           The attorneys of record are responsible for

employing reasonable measures to control, consistent with this Order, duplication of, access to,

and distribution of “confidential” or “highly confidential” information and/or copies of documents

designated as “confidential” or “highly confidential” information.

       18.     Admissibility of Evidence in Court. The provisions of this Order shall not affect

the admissibility of evidence at trial or any preliminary evidentiary proceeding in court, except as

directed by separate order entered for good cause shown.

       19.     Health Insurance Portability and Accountability Act of 1996. This Protective

Order shall also serve as a qualified protective order under the Health Insurance Portability and




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Accountability Act of 1996 (“HIPAA”), Pub. L. No. 104-191, 110 Stat. 1936 (1996) and its

implementing regulations, and shall serve as an order authorizing any health care and/or mental

health care provider, health plan, or other entity covered by HIPAA, to produce unredacted

protected health information, which includes documents and records relating to the past, present,

or future medical or mental condition of any individual who is or was an inmate in the custody of

ADOC at any time between January 1, 2018 and the trial of this action. This Protective Order

authorizes any third party who receives a subpoena in this action requesting the production of

documents or commanding attendance at deposition or trial to disclose the protected health

information in response to such request or subpoena. This Protective Order is intended to authorize

such disclosures under the privacy regulations issued pursuant to HIPAA.                45 C.F.R. §

164.512(e)(1)(i).

         The Clerk is directed to send copies of this Order to all counsel of record.


Dated:



                                               UNITED STATES DISTRICT JUDGE




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